
PER CURIAM.
We find error only in the court’s assessment of costs. Accordingly, we strike the trial court’s assessment of $2 court costs, and $10 assessed for the Crimes Compensation Trust Fund.1 These assessments were improper since appellant had been adjudged insolvent. Cox v. State, 334 So.2d 568 (Fla.1976); Johnson v. State, 403 So.2d 626 (Fla. 2d DCA 1981). Otherwise, we affirm the judgment and sentence of the trial court.
HOBSON, A.C.J., and RYDER and CAMPBELL, JJ., concur.

. We previously certified to the supreme court the question of whether costs may be assessed for the Crimes Compensation Trust Fund and Law Enforcement Officers Training Trust Fund against a defendant who had been adjudged insolvent. Brown v. State, 427 So.2d 271 (Fla. 2d DCA 1983).

